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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO




 ADREE EDMO,
                                                Case No. 1:17-cv-00151-BLW
                       Plaintiff,
                                                MEMORANDUM DECISION AND
 v.                                             ORDER

 IDAHO DEPARTMENT OF
 CORRECTION, et al.,

                       Defendants.



                                     INTRODUCTION

        Before me is Plaintiff’s Motion for Indicative Ruling Under Federal Rules of Civil

Procedure 62.1 and 60(a). Dkt. 185. Plaintiff’s Motion is DENIED as unnecessary given

my prior Memorandum Decision and Order.

                                     BACKGROUND

        This case is currently on appeal before the United States Court of Appeals for the

Ninth Circuit. Dkts. 163, 164. Plaintiff filed a motion for an indicative ruling pursuant

of Federal Rules of Civil Procedure 62.1 and 60(a), asking me to make explicit findings

that:




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       the injunctive relief ordered … [in the Court’s prior memorandum decision and
       order in this case] is narrowly drawn, extends no further than necessary to correct
       the violation of the federal right, is the least intrusive means necessary to correct
       the violation of the Federal right, and that there is no evidence that granting this
       relief will have any adverse impact on public safety or the operation of the
       criminal justice system.

Dkt. 185 at 2.

                                         ANALYSIS

       The Prison Litigation Reform Act (“PLRA”), as codified at 18 U.S.C. §

3626(a)(1), provides:

       In any civil action with respect to prison conditions, to the extent otherwise
       authorized by law, the court may enter a temporary restraining order or an order
       for preliminary injunctive relief. Preliminary injunctive relief must be narrowly
       drawn, extend no further than necessary to correct the harm the court finds
       requires preliminary relief, and be the least intrusive means necessary to correct
       that harm. The court shall give substantial weight to any adverse impact on public
       safety or the operation of a criminal justice system caused by the preliminary
       relief.

Plaintiff, through her motion, asks me to make explicit findings indicating that the

preliminary injunction I issued complies with the PLRA. Conversely, Defendants

maintain that I cannot issue an indicative ruling because (1) my Memorandum Decision

and Order has expired (Dkt. 188 at 4-5); (2) Plaintiff failed to properly sequence her

motions (id. at 5-7); and (3) Plaintiff is not entitled to the relief she seeks under Rule

60(a) (id. at 7-11).

       Having reviewed the arguments set forth by the Parties, I find that the proper

course is to deny Plaintiff’s motion, but not for any of the reasons urged by Defendants.

Rather, denial is appropriate because my initial Memorandum Decision and Order (Dkt.

149) fully complies with the requirements of 18 U.S.C. § 3626(a)(1).

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         While I did not make explicit findings on the need-narrowness-intrusiveness

requirement which parroted the language of the statute, nothing in its text suggests that

the precise language in the statute must be employed in the decision. The Ninth Circuit

so indicated in Gilmore v. People of the State of California, 220 F.3d 987, 1008 (9th Cir.

2000):

         We do not read this to mean that explicit findings must have been made, so long as
         the record, the court’s decision ordering prospective relief, and relevant caselaw
         fairly disclose that the relief actually meets the § 3626(b)(2) narrow tailoring
         standard. 1

See also Armstrong v. Schwarzenegger, 622 F.3d 1058, 1070 (9th Cir. 2010); Pierce v.

Cty. of Orange, 761 F. Supp. 2d 915, 947 (C.D. Cal. 2011). Here, I went further than is

required under the Gilmore standard. Rather than leave it to the appellate court to

determine whether the injunction met the statute’s requirements, I made explicit findings

which clearly indicate that I considered and applied the narrow tailoring standard of the

statute.

         I began my Memorandum Decision and Order by quoting the applicable section of

the PLRA in the “INJUNCTION STANDARD” section. Dkt. 149 at 31. Thus, I fully

considered and made findings in accordance with the applicable provision in the PLRA.

But again, I went further and made findings which addressed each requirement of the

statute.




1
 Although § 3626(b)(2) is a different subsection of the PLRA, the need-narrowness-intrusiveness language is
almost identical to § 3626(a)(1) and nothing in the Gilmore Court’s decision suggests that its reasoning does not
apply with equal force to § 3626(a)(1).

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       First, I carefully indicated that the preliminary injunction was narrowly drawn and

would have no application outside of the case before me. I made clear that the injunction

applies solely to Plaintiff, noting that “[the Court’s] decision … [was] based upon, and

limited to, the unique facts and circumstances presented by Ms. Edmo’s case.” Id. at 4.

Thus, my decision could not have been more narrowly drawn, given that it applies solely

to one person.

       Second, the relief ordered extends no further than necessary to correct the

constitutional injury Plaintiff is suffering. Again, I noted that my decision “was not

intended, and should not be construed, as a general finding that all inmates suffering from

gender dysphoria are entitled to gender confirmation surgery.” Id.

       Third, I found that gender confirmation surgery was the least intrusive, and in this

case the only effective, method to treat Plaintiff’s gender dysphoria. Id. at 25-29. I

concluded “[i]f she is not provided with surgery, Ms. Edmo has indicated that she will try

self-surgery again to deal with her extreme episodes of gender dysphoria.” Id. at 28-29.

       Finally, I gave full consideration to Defendants’ repeated arguments that prison

authorities were entitled to withhold gender confirmation surgery from Plaintiff because

providing her with the surgery could create challenges in managing the prison system in

Idaho. While I fully considered and appreciated that concern, I ultimately concluded that

those considerations must give way to the Defendants’ constitutional obligation to

provide Plaintiff with the care mandated by the Eighth Amendment. Thus, I considered

public safety and the impact on the operations of the criminal justice system in crafting

the preliminary injunction in this case.

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         In short, in issuing my decision, I fully considered and applied the narrowing legal

standards of 18 U.S.C. § 3626(a)(1). I see no need to offer an indicative ruling that

would employ some talismanic language2 which adds nothing to the clarity and certainty

of my decision.

                                                       ORDER

         IT IS HEREBY ORDERED:

    1. Plaintiff’s Motion for Indicative Ruling Under Federal Rules of Civil Procedure

         62.1 and 60(a) (Dkt. 185) is DENIED as unnecessary.3



                                                                 DATED: April 9, 2019


                                                                 _________________________
                                                                 B. Lynn Winmill
                                                                 U.S. District Court Judge




2
  I do not mean to suggest here that use of the exact words of the statute is sufficient, in and of itself, to satisfy the
requirements of the PLRA. Balla v. Idaho State Board of Corrections, 1:81-cv-001165-BLW (D. Idaho March 20,
2019) (Dkt. 1262 at 7). Indeed, the teaching of my decisions in this case and in Balla is that using the exact
language of the statute is neither necessary nor sufficient to satisfy the PLRA.
3
  I would note that if the Ninth Circuit finds that I am required to use the precise language used in the PLRA, I
would have no hesitancy in following their order to do so. An amended decision including the talismanic language
would be fully consistent with my intent when I issued the original Memorandum Decision and Order, and would be
issued immediately upon remand if that is deemed necessary by the appellate court.

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